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ee Re meee Ro ne? *
Xt sade sox atte & te aah “ ” . . " 5
4 ty de4 3 2 . .
AER LE BS A ye Sy . . . : .
og ” a ve” < “ 3 * ‘ . ot * ~ = 4 3, 2 a oe
: eR Ce ye fe . 0 “ ne * ; : .
. * : 7 Pak > bth, Bans & “3 _” 7 °
‘a oT ee ee At : * . . ate . .
. . pa Be os : ~ 8 : . :
ye ae a Ee Do : sy" .
. : * boy wae Ts sf a, * “ .
. wee ate . aoe ws - . ° .
ao < we te ay ¥ a ,
. 6 we Sh co 2 ~ » .
‘ ‘ , A amg BS wee. Lo toe . Dae ,
o . Coe te . “ % oe we oY “ . 2 4 >
Poe a Bowe fe oe
z ee « f —_ ~ .
ce » ~ oe yon Rom ba es ’ as my 4 ” .
ey eal fe, oe oa 8 5 . vee {
, wes . ’ OBE ae A ORO ae . . o . or.
. % . ae Me SES 7 » ee . aoe ~ ss pe ~ , >
‘ ’ as . ee . oO Bas ~ ens . ae » ’ x .. Set ary
’ Ste oe “a 4 330+ Me eRe Le we x “3 > om, ” . wae :
. ¥ : — TOL walle fous fe es , ami, , : ON .
® > . MD Mg a eT . ~ Fe we ot ~ be *
Da, . Likes Sod 28 ot, 2! “33° «30 .
~ ° * we af eos “ * * we, il i ae x ie ams a ~ * ¥
: . : . . 23 rer ? “ — ~ eos ~ . , .
aoe eo ~ . 4 oe ° . « ae * fF vs - wae * . ao
- 6 wrt : . - ELD > . . te . .
. te ; co Re » . ° . we . ‘ 4 .
“4 3 . eM “ x Y * ~s ot * ey - “ a . * > 7 . “
x ‘ ~ z «Be mS . “we a e ’
ete « . “ , Sy a we ae a ae y one > . ; . * . -
s . ey, . . : ee ees Stay yon Lo,
. of. oe . 0 os - Looe a wea : : .
” “le > . : . mee 2 a se he ‘ hoe . t .
Loe a oo : ‘ os ° Pn te aes Poe Sus wee eof. ° .
Ree * wy 2 ee > ee Ey BEE eR ww . ’ ‘ ‘ w. , be a . ~
* < “ + 1 ey ae 6 ev ae . . * . x . 2 .
2 OSE OBS pees ‘ ce pe . +» Eas@No, 4267. _/7
© ns wet . pee ce fog . . onan fo * . +
ce ae. oS pow S co : . Fy nn enn cy
a “2, SRE ae ce | ee eR Bs ene Jf: oe ‘Ve:
¢ é > . . . - 5 ° . » . Ay no sn te oe ned
o . nee ten - - * ~ 6% + coy > me a &
a“ ” . . ° + “ My mn
“ “oe ‘ ent * * <, “ ~ ~ me 4 * Se ee
‘ ‘ we MR Vee - “oe . “Fe as of ~ * . * TT a a Mee on Nyt eset
. pens . . BE ee la eo . - . NSE oe ean a dle ign mS, oY qi it
+ . . wy Se ye Le ae SOR Sh , D. woe : wr Ed }
ae tee iy xy en ee =e ~ Re 5 w wee PO a» grote . . s t ay Poy om * ee .
cP ys a ag Naa ET uo ate JUN 23 iysg ,. won :
* * ‘ fee 3 .. % : : ves af cs e . oa : ua so 28 on
4 tae ba Me et 3 . ay e gte 7 ” ’ - Tita hem a mt cee § ‘
Cw Bes ve ER evap see JUN 25 i. IPE
Af  PsB alpen gee ae ps Ce pa 3 ate - a So 708; Pe EEE C; . .
. tap ce . . ae » . . . mF “ y . 2 oe * 2 -
a sc tife OR so o : > wren i 2 - oo
‘ ma we ee a a . . . : . wom RS a LG fAgocs “ *
. o von a PP BE tae noRS > . : JOH wn he ob: LY EMIDEN .
a : 2 a * : . . B oe . < * etm me
ee fie fe! eo Los N M. CS ~ . CE
t we Fy BO a oO “o Fee eg eT . . * Dacia] iv] ‘
>. crisTIANTOS © OY we PO ee oe - ai Master .
rae : > eo 2 nos o 4 Be ss . . . Come f ,
hs , < a ae Me “ “ue ’ * ~ - ~ .
* ba bee ey, a 4 “ Ro ye. fers pe
wag Po Souk’: ty ay : - ts . % : . me
~ PDR EE fe % 4 - . . . a . nwa { |
BRS ALCS I. eo wn eto. as 42° oo . “- erk .
1
~ < * » + .
’ ~ “ . Oo
. - LEGEN pitedl >
. . : me *
r “ ~ ~* oe
4 5 * :
| . : ’ + 2 6 Tee
: ‘
: : oe 5
L SHEETS INCLUDED IN THE GENERAL DEVELOPMENT PLAN : :
‘ no . . ‘
7! r: . , . . . ws
yi . at
i J “ , ~
i > SHEETS NOT INCLUDED IN THE GENERAL DEVELOPMENT .. ~ Gane ~|g-
: . Me ef ‘ . ‘ , * ee . ws te
r we sos . ‘ os « ag :
’ " ee : ‘ ‘
_ AREAS . BS,
: . natn al -
mye Ta . ve ae “ +
me ‘BOUNDARY LINE . 2 iat “fo.
coe Mg on vo* . * “ - fy .
+ eo . « ’ . * Y
» * “ 4 Ben - be - - w x
2 « a * . * a 4 : whe
Se . ° Te Te . a “ ~
[SAN ONOFRE™ YB NE . c . Se . . od
. RECREATION wo : 5 co . a . . ‘ we, ~ Sows . . s * “0 A
. ‘ : % . vfioe . a» 7s - ~ » . ~ oF “ <
: °40™.~ SC Al ee . ae , oe oc at ‘ a fe Ds
x =p ~ a ; NT age be ~ OR . . * - “ a8 we 2 * . 6 oS eae? “
EE BR Ope nm ‘ . : ~“ - . a Bee, . . bee .. . 2 on RA Ge
age wt CAB. g . . - we « + % . = > ett ¢ . eo Bes
te <a en oF om . . mo . +s ~ root. SA GNOFREI. ” cnet . . ve on . . os ete
«i & . “s - ~ ee An SNe +e ime be , . i . ‘ RS oe “ . . . 2% .
wa ge Sd . oT OS SS MOUNTAIN. - 4 GOVERNMENT OWNED WITHIN -BOUNDARY:. — 124,832.03 .- 0 - 2° xE-
6s ae 8 « LE e « “ Z « . 3 ‘
xe “6 ? + 3 w - «
“ ws 5. . z « < “ ° oe Se
$F E Se ee -y = N§37000 ~ et . 2% eS
LF Be ‘ . RELINQUISHED TO USNH 282:52: ee a eB ,
aoe . . , . soe ot . wee he. em Se
oO. . a us. INavaL 1 RELINQUISHED TO BU. ARR — 346.00 . ~S9BM2 5.2 o.
‘ “ a ge A » " . snleiapteeisinanannpearine . o* on ak a Pee ve OE
: : . ‘AMMUNITION DEPOT . . 2 E po
rie . ~ a . yt a ~ .
~ / Y, TOTAL _ $98.52 o PB .
“ +2 ’ . ” * 2 . a ae oe Patt ner Te 8 Ss
Bel ~ : ‘ . oO a .. BALANCE. 1245233251 9 She Lo 4
oie +, ye 4g pane _ Gg a BO tg te Gs, s ae ~
. - yet : ~ we gr SS ne
ee . Ros OUTLEASED TO TITLE UT HOUSING 345.52 . Oe 7 ORSON SSB
2 Bedi LF . Mae ce; . . ; j ee Pa eee, . of
ue Sah Oe . _ . OUTLEASED TO. SCHOOLS . BEAT pga EY Te
2 qosend D aes “5 876.69 — ey ce |
. : > Se att 2 ~ ~ A - ; mas! &
Oe ot Se # . i .”, . : OUTLEASED FOR AGRICULTURE —— 5,500,600 > . ee .
we oA 3 * i + fe * ’ : 2 eo aoe « » oR de *
z ao “ « oot, . te _eenmntmnicniniinmsonacaneninsinaiete “ wg kombat >
~ ey » sl bo oS « * - . » ~ x . wR ig atha * .
oe . ARE -ONEILL . 1. as . TOTAL. > © (5,876.69 pth age 2
pet Bee, eA : es Ft. 20 : i ye vas
DAF : 4, . “FH os 2 SE : + a7 . . Cn we — ee FAC gS Re
ae te oA ° * Z wg . teen Be Ae
Soe Ape . Sts We _ |. MET BALANCE — 118,356.82°° 2° (0 pe
‘ ee « - . . - . . Looe . “ys Le ” . “| -
| + . . : * . ~ ” . . * ~. ea fe * es 8 . .
. . * % . * ‘ * * a ; - PONENT Shay *
eo” . ‘ Se te t.- “ ‘ . “ eg ge OR sn -
2 wets eed yy 4 + - OMe <
woe Te ore i : nezioco -« * . : mo Jee,
~ ; : 2. : . . . See Ty
a * M ga” ‘ ew ee Se ume
. , y . “ . « . re ‘
ok > oe “6 ‘ - ’ oe + E28 ee oo
a. “, he % % a ee . et . .
a - . a . eps “ ° * lee ,
. a ay gat . io. : wry Mee, mae fo yey a he Ee
fog Le oo . Ode. Bins Moet . eo oi C8 bee ak
: . eo Bere ms . . ‘ o* . . a > * ”
7 See . ’ i “a BA .¥ vs we fag oe ee
“ aoe : a * . a ~
‘ Dy Boy - FON ~ S at * - . ~ t - oe, 2.
wake « + wee rot ae 5 tow mo ~ oo -
ven “ Lt sno “ ~4 Nai3000 . : -
- 4 x * ef * soy ” : *
. - . : S . . -
Pee 4 * aa . . . r < - bee . cue
Sow & a x . ‘ , ~ *
~ . “ 7 MARRIED . 5
oe ~ . . Wy S/ “ FIGERS : . Wb wae : oo; . yO
Lo y » “SLY rr QUARTERS Mek . se . . - . : .
- 4 {7 4 . oot gE de ae, : ,
WN ge 2k me » . vor . . .
) New fo i ’ Lo. . ok . Som 5 ~ of
Pugh * “ we OY ‘ a . Poaa
a Y. : Dae. . eee.
eae e “ some “1 NSOSO00 ~ « ~
Ps BGR ooh : ees Lo , “,.
ve : whee . - : . we > . a8
eo ate : eee cs eR: wn . .
te ge ¢ . oe . Os . st oe ° ‘ 5 ns >
. a ° . - . a . rg * >
sy cee 7 fe . . . x at Tw . .
‘ $e we o tens . yo. a8 yo yO- aS woe + «8 &
“oa it Og ww Og ge at : . . ws cB,
. = yi en Beh Sas er Oe soe oN te - 1 Be
"Bo mt fog. . . . wan < ao + 3 eer
S Se 4 Ay aye é > + fee “ as “ . a Oa - SRS.
° 4 a ab? oe Poe ue ee St oe aS Loe erat ae ‘ ooo . soos Me .
3 Ee Be pa ye Ee weet § a - we 3s Wa be che a ME wo UF we FE , & 2 -P 2 ve . ‘ eon? * oo uae
+ ER Da ust EONS 2 vee Foe Pte ww” oe . e : ee 4 as 2 ot
ceed Be ag 8 Ee oS NR he ie oS pees oye 2 97008" 2. * ~ nea - 2 ne Sg
~ pg eet ~ * ee vn g “ wo fee
z Winns Pind a ast ve EN Beg See & 8 wu ae RS oe fet ee Se Ss oy To oee aie Bee pee - ste FO ee ye “aan tO “ 4, Ae . foes a siege we a Pere
350% PhS BS aes 2 4 ed Pk we * bo » ” By a Os Bye % . v4 Brey we rea
Smart er AS fie ES 5 ® awe ae ek OR f BV ne ew ee MD f ot ee < ve ok oe i aa ieee
APRA» & we SSA A ar Ss howe FO See > oom a wat > + “ wp PL Tee tee fa ne Py < ‘¢
oa vn SO oe EO As EER i yee Reet 8 Ne "gti Bey Ne eT e .e eo. * wap ot ” Fa 2 £
$e 4 EOS AE. Sea es Bees, Ree st BPE 6 DEM oR pe SR ae - se Va ae
. Se why ARIS STR NE "re ee ON got SAS ge &- op Sn 2 iG ee eet a F > te “ee
< woos Ce aE tah 03 ay v a y 2 ah de. ewe Ly wot % we ae wo ge Ty “e * + « a
5 , wie fF Age? ene Ph Se a oer BL. ‘ A £/7e pee ES hee oe Cot ee sea
4 “ "Oa OO we, OR Se SR Be ce ES DO sed fe A RE ete ee wo o¢
. ve » ~ soe So ee REE RUS ees sees ra 4 we aso 2 wo <4 . .
. > . 4 “ eee oh ae ne Pe wey tM ag Male ae wk .

fo . - me Se BASE AT Sn 2 Reatee EL ay ~ ee ew

toe tt Ls we ei Boo sa Teil oR agar FO wee eee

- ey . rn ‘ ‘ a8 28) SY ite SEF Ree eae oo et ME Fay es

* - ve “ ‘ . . Pave oo 2 Bu 3 Se" Bey Soe 2

gion et os tte Os Bp SP Bo gg = Bede Ry « EE Ege ee ge SRF

hy DT “et . Fo 7% pen YO 8 ee Bee 2 oo NR BOO. SE SES ty Tae . 2 ae ao os |

bot Meds ee pg TUT SON ae eR IR POE GE ies ant Beal ae One RTA Se ESAS oops Sele, URE one ve ERE Dosen Piibseaectat trina wl 3.

i ose . w Begs + ty ee eR aot, Mee ha SB Me a re eg < ‘4 Pak da a eee ste oy SAN PEG ES on BO Bese tag, faye StS Bley in ate ae Teese eae gy NR wt gn ERD cate get SSR R | oA > Lee te eee Oe Bes oe Be
sure? * ‘ aR ESS BRST TS Par 05” ip ig ER aa ‘ Wiggs gel SYR BS CER he a Hs SES . Te pa Sa ie hee ee ee SB Re
eed bot > bon “ot ee EOE OSS RAE eR OS eee Ae ee orate SE SU in GG og CN ER Bg Sey 1p ea = 2 age Apes, Ee
But ES y ays ye x we th RG ae ose teh ae hee 7 Re gp ce ol g Feats BR en REP RE BON ge ome A a Manette! ore es: . ° eo ree en UE

weer , SE ae et ee weg a OL ae Lt pagal BLE Es hs TS rei gue DP be See Rh ELE OE gl Aan ee a SEES 2 OF eed 4

vo” . x wits, oe x2 yt ate a AE Oe oe bee Pe och Uae Se DOI be mC ty VRE AES 2m BH me Sy ge MD ta ee Re <i

gpl . ne . 5 eo od tae Ar FL cask, Bkethe 2 Page OURS es EE gs en a ite RES 0h Sons et OG OR US, “Bal ol ger Steet ue, pede es Tn me tp ribet * wh hesitant EL oe
Mpg ee, a As . es L ee Ee Py BE RE SOE Oy open Bee Ae OE SS GS UE ea og AOE oe ee gee 4 ~ = ag eT ervare WOE Fr By cee hte ny Pkg es ah we
Be Be, Pe en TEES USS oS ESSAI OF Ge Ek. SoBe ce ES Dee REVI SP eS Cris ogee py 2,
BE . oS . qe . I Foe BEN Soe ac git eo ue Sy Dnt loot oe oat SS ss fe = hac perenne eter itn ne prowess Sit esionaterntcmmeesentnesrien SE,
a* x 3 . x xR voy . ° . . wes ge é te ot 2 SEK, Praia Ee if : a me : Ae eae 4 2B “ a DEPARTM OF 4 HE 4 es OE ath me et oh es se poh Bee
3 ee te ER aT ~ 4 gee OE Me Sel POE oS Sag tae pe ES ee Fe a ee fs SA 2M RNG. FAS Tr WAI OF- ee TAB cP Ss
e Se cree FTN SF epee BER Ee, wo . Se ge ee RRS Tas MEE URE = . Spl ee ny ¥ re vroh ee We Bes
f wechpe t oes * ay beg es ~ e Cae . Sh ey ae ve LS ee i eF oh Ee FS re SBR OS hak ha BS oy, A SS mre ee fs 2 De PEO Ey nO 2 a en a eng we es 7 EEE eh eo eT ee BS SoS
£3 SB Be ee vik et Oe Oe dete SRO nak ray She ohh ye ee OPP Re RE Map. A aS idea ed Uk ee S Bn OP ghee : 5 mo: bs, barre eek: A ae ane
<P ° wp ES gh RA . “ ‘ AL ehhh ER es oe * ale 1 1 tf. Be tN Oe eas DOR Fok Se Sar So oe dae a : Se Boy a AR, aed gst . * ~p 5 a Cae
et EE A RE wat we gp ee 2 tee OS ae A Sa en TLE SG a ey RE Ba RE re ote LTS siete Pe ee as eS Ce BL EER US EN : CORPS: - “Fe : eR
Me ae Ores se : : * et x é ee * 8 eek , : ny 14 pS aR gata ho Bae Bes Fite ae Ee a Re i ~ eo phat Pe ‘s a a * a We io 2 eR
x fh 4 a Be > & Pan ghd a8 DO PR Be ge FM wells | BS Ch ce a Bt A OE SC wil dog agit pee “se Voges te Ltt Ge * is EE te en Pepe, Fe * aA Ne ~ : Se gee ge eS ae Se POW ee Bom i GES
a veer ee 8 a se ee ated ” NESS ° 6 . ey fe ee PLA EROS ed - 5 i ARE SONG es Saket Boge St Eee phe Oe SS Beale: Reg hae te lg eee LS os i * ee Ne LG PE eo igs RRS a ea Eat age
a Y ee ‘ x OPE Fe BS ARE we OEE A geile EE a EN ae eee eas LES SO CE CORN, BERN TE oS Th on oe PRE RR gt ton pheno ~ “heereurepesionnonueninstanneeirorysin its
‘. . Cl SE ge Seg A ea a» RR OE Gl TERR Ce oN are Og Sno ae ee Se es ee aos Se RP RIS om Ba Sec die ares pe Ge ee 4 ee kee,
ee y ae BR Sate Th pe See SRE ee ee GREK % nee % PEST SE A RB ES ASS, wp BNSs pet Bae ole, Teor eee 9S, PB ALT ES EB a Bg ee ‘A * J r oa 4 -.: oe e
~ * ay? ep EE eR ERS A a8 oy COE ere ee 2 p een Be ELSES GO FTES enc NE hl oe gta ae ae BRS BS Rd Soe ke . Ba So ae re Se eee
+ a nt + bs [et abode’ 5 MR: ok Bee eS aa REET Ar SE OERS  gtSES Bee euteee oe Sgouk ome OF ce nc RE = BoE REN gas canes A eS ENS ELS Se OS
we 4 , oF wating oy rire S Ros Sees 3S leet Be hey, ee breast ease fe oe es ga) ter enn bs OEE
Lay OOD . : veg ee EA Bee Se Re re Ae co ee ere sincera sion cow es - cn a EERO "Seer oy ‘ 38 @3
2 te “a Ce tpn hie Ga Ae feria RRR US Serax Ores es ve Peek Pe es eee coats os ee SN See sieehieneororeess TAR ne eg rs. NE - i i
x Rs Fgh LEE WE nee se eS CERI Se EEO ER io WM ORE SS Aas SRR these OS oe BE Ab al 2 Be esa AEN Aer ee Ee F* ee oe.
. “ ht 58 GE oe 53 ss a Si ae ae Sen et are Rees oh eee poy “ee oe. oI Sees es trees as ee S “Se c 4 a, ee 2 ee tanh, OE eee e we
a tae » Boge ae ey Bon GEA USE, CES. BSE Sool, SE Me re Bee ee Fe, a iE ion! Me Aras & o Sete. Fp GEES OER, Sar ak < Be oe rm ei SECTI “
mo, Md ‘ Og EE es tye 2 Seid dg On Te See Satire SIR I BE noes es Bee ee,
. ’ Lae ity pata TE VALE 8) 6% oo Ree aa OU eet rn ee : RN Hee FB RED pig es Gh he Oe ES. ae eee F 7s wo .
zg lah “ * cg Bh Fete EEE Sr ie BBE io Beg Reg Peis oR ce ae a aie aa 2 ng ana fis ses oe se > wf
* , a4 . co ea ge Aen, BS £ . . Ny we PRIS gen aS OE Soe es "eae fe : BP SIP LP Ge eek te Tani page WERE oe Oe LS RATE ge MO ES aS eae th Nae
Loe le he . Cbs Sip Ps Ro LE TE acter oe te Bea BI APN RE Io By pee ae es en ee eee Pe Rec Ee REE ee RAL uf

“ : ~ > ore Mel wet Bt ete Ree geek wt Eg RO a Bes RNA © ng he as So gies is Seg ok A gies ao Aes oS

aS of ah eg EROS al Pee EE EE IIR poi OOS oe on eee ST Sn eee COE x cee nee MS ¥

yt TS . ee he, Goths % oe 2 pee Beate de® Shidon he Oe CORSE TRS TRS SSO SERIE EY. oe Be z PEO RE Rc hae es f 2) Bee £ Le See Be ee oe

: ee boot. ete age ee ERs, 5: . EONS, EEE ONG Se EERE 6 a Je as Sa BSS Tae abe ne OE

Few tS on SO Eke pe peg “8 é Samet * Rig Sy wt heteGeet S & gates oS By ESS gee npr a: ee se bet ae eee Sears Macgioe fad s eet eg Seedy POR hy

Te wher Te bes aed 8 wed ee PO ee ay Oy : ROD OF See a Bo eee EE eee Gs oS Ee Mgaicel Soca. tnd tee Sor Sree ees ees oe = Bee a BEES

7H ot «ag FO wee DE we BTS one pte he “OF ERE CSREES SPSS Sy aes SEER I Teo paneer ss i es ‘Ser Sy See a $fee se BE EE

Be Mee » She ye é . . Saget 188 ae > x BC Ne ec Mek es, 2 See a ce MER OES, Beles = fe ge *: SRS GS RR a AB AC Tg

te ee PEE ae eo Mees on OE, OR ae ae Ba Sak = SRR we CERES REPS C oe eae es ee a Ps Ra See ee No ow he ax ie Die aR .

¢ . oe eR 8 Ble te * Poy aS lene Te te Ca ng tt Siang Poy ee Ft RY GRASS get St RE a PM AE et te SE A * a8 Sea cea we i
ah . fps Br ap Be eA Re ages SET vee Pos BY Qh EA is SRE SE Ses SLi eh aE 2 : rae . eae Se NE ot tee ere ee ye ;
ft : . of tein g Gye Pe Ds RRO Pes SNE oe SA PS Fae eae ee 2 eG ee ee : : ts 5 — POU emt on ali a: pie

At Sie BUNS Be Yaar 4 Le eh Sel SR Ea ee BF ee Beet si Fee aS X, Kew ep Ae = Se eirme ?

; oe Re ne TER Bea Se ger ol RG a Seer T NS Mere f eR ES s a 2 Pare S Rok Pes ” phe va *) ne nese a oo
“ et Sha SS BY Bee SS LEW BAG ee, a aN ac, 2 : Oe ; LB eS Rey on a oe is ol, OE Os oS ee Soke :
Los wee’ BB I AK oy oe Sgt gh eee eae oa Sa ee > aye y Jonge - Sas Reet EO Pel ee UEC Se CRT Se RN Cae sen te PERE pa ‘s z:
Sees ES OPE ~ % 3 Spee it Ree Blac e vy * SRE 3 ae rae = e ie 3 Rei erp eed wee ae ak Aes : Son BIRR i Pee po 8 ea She Bet aibe a PRR TESTS Bye SORE wey
- : ne a wut EE ex, I Mice SSR aes Sime gates em sath ae ee e g ee ee noe 5 ae oO a ae Od LO OL ee, Oey ET os ee pn es
Sa 2 1 Sete OE es TEE Sena Pee RS IE > A CRS aes = eS 2 See ey S g 8 es - St Tic EE : res Sa
CAS ay Bee tee The oO See oo os See Se Shes ae = Z oe f : a i ee pate bao he ' Ls eS Se
~, %, oe ‘ “s oe OF FSA ER Se, 2 eS a = Pk 29os.0 ee rane: a - 2 eae invest Eek MES 5 Y a
xf
ae Pe RN See ee f One Fae PE CM, ioe EE ge Sof OP HASTEN IE Gin GRIER RS : cae PEON RE me r De e : eens - - ene “4 - Let
SPS Re Be he Lesa A reg arg dS ST eo Sh a a ee Z Se cee ie Ce ea Seeker
eee ge ty ERE ER ede oe BoP a Pe TBPR BO CES EE they "PS ee ae EERE ETAL RST EAE aoe aes SRO oe : EN Ba : Ss : 2 CIR Pas, 9 iE ned Eee ~ os ves tee ey
Pre ee eet eR, BERS Diy ste oe AS Dat OS EERE uo EGS OE RO pecans Uaees ne Gage a Eee eee BY ee a peels oe g S i oe ee ee Bere a : ery hak seie Bee he
ve ore ™ ee ne ee ee Sie ore . ree, va Oe - e Poe ag oe Mor i Seas OO Ce a a : = ees — “ or . i pita a Ancona ven -attctionanmn chien an sa Seamudncttens Genital Marto Ae
peers 1 ps oe Ub PS be eg eee, POE Rea OS NARS a ENS oe sch k itch athe cg Re eS INE 0 Nee eae nce RR REAC EE as = SE ETE ONES ES
DAE SL Le a ab ARERR Me ethene cnn om ri a PT aE ee kate Tl Selatan ASOT
